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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GARVIN BEDFORD, Individually,                          )
                                                       )
               Plaintiff,                              )
                                                       ) Case No. 1:14-cv-10196
        v.                                             )
                                                       ) Judge Milton I. Shadur
UNITED AIRLINES, INC., an Illinois                     )
Corporation,                                           ) Magistrate Judge Geraldine Soat Brown
                                                       )
               Defendant.                              )


   PLAINTIFF’S MOTION TO COMPEL RESPONSES TO INTERROGATORIES AND
                      REQUESTS FOR PRODUCTION

        Plaintiff, Garvin Bedford (“Bedford”), by his court-appointed counsel, Robert E. McKenzie,

Anne M. Coghlan, and Oliver A. Khan of Arnstein & Lehr LLP, moves this Honorable Court to

compel United Airlines, Inc., an Illinois Corporation. (“UAL”) to respond to Bedford’s

interrogatories and requests to produce. In support thereof, Bedford states as follows:

                                            Introduction

        1.     This case involves UAL’s termination of Bedford, UAL’s former employee.

Bedford’s claims against UAL include (1) wrongful discharge- age discrimination; (2) wrongful

discharge- race discrimination; and (3) wrongful discharge- gender discrimination.

        2.     Bedford moves to compel UAL to properly respond to deficiencies in discovery

regarding: (i) failure to provide full and complete answers to Interrogatories Numbers 4, 16, and 17;

and (ii) failure to provide full and complete production of the items requested in Bedford’s Requests

for Production Numbers 9-15, 20-21, and 29.




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                                          Background

        3.     Bedford issued its First Set of Interrogatories (“Interrogatories”) and First Set of

Requests for Production (“Requests to Produce”) to UAL on or about July 8, 2015 which are

attached, respectively, as Exhibit A and Exhibit B.          While UAL sent responses to the

Interrogatories and Requests to Produce, UAL’s responses were incomplete and, in some cases,

non-responsive. UAL’s answers to the Interrogatories (“Answers to Interrogatories”) is attached as

Exhibit C. UAL’s response to the Requests to Produce (“Response to Requests to Produce”) is

attached as Exhibit D.

        4.     In an effort to resolve discovery disputes arising out of the Interrogatories and

Requests to Produce, Bedford sent UAL a letter on September 30, 2015 regarding UAL’s

incomplete discovery responses, which is attached as Exhibit E. UAL’s response letter, dated

November 4, 2015, is attached as Exhibit F. UAL provided supplemental discovery responses,

which are still incomplete (“UAL’s Supplemental Responses”). UAL’s supplemental responses to

Requests to Produce Nos. 1, 2, 6, 10, 11, 18 and 23 and Interrogatory No. 14 are attached hereto as

Group Exhibit G. UAL sent supplemental responses to Request to Produce No. 14 and

Interrogatory No. 4 on November 18, 2015, which are attached hereto as Group Exhibit H.

        5.     Counsel for Bedford, Anne M. Coghlan and Oliver Khan, and counsel for UAL,

Preston Pugh and Elysia Baker, participated in a telephonic conference pursuant to Local Rule 37.2

on November 12, 2015 at about 11:00 a.m. UAL sent additional supplemental discovery responses

(“UAL’s Additional Supplemental Responses”) on December 16, 2015, which are still incomplete.

UAL’s December 16, 2015 letter is attached hereto as Exhibit I. After the telephonic conference

and the supplemental documents were submitted by UAL, the parties had multiple conversations

attempting to resolve the remaining differences arising out of the above discovery. On February 1,

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2016, counsel for UAL confirmed that it has tendered all discovery documents that it plans to

produce, except for documents related to Request to Produce No. 8 in a letter attached hereto as

Exhibit J. UAL produced documents related to Request to Produce No. 8 on March 21, 2016. After

the telephone consultation and good faith attempts to resolve differences arising out of the above

discovery, the parties are unable to reach an accord regarding the issues raised here. The

certification of Anne M. Coghlan is attached hereto as Exhibit K.

                                             Argument

        6.     “Parties may obtain discovery regarding any nonprivileged matter that is relevant to

any party's claim or defense and proportional to the needs of the case, considering the importance of

the issues at stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ.

Pro. 26(b)(1). “The discovery rules allow the parties ‘to obtain the fullest possible knowledge of the

issues and facts before trial.’” In re Thomas Consol. Indus., Inc., No. 04 CV 6185, 2005 WL

3776322, at *6 (N.D. Ill. May 19, 2005) (citations omitted).

        7.     “Liberal discovery is the general rule.” Pactiv Corp. v. Multisorb Techs., No. 10 C

461, 2012 WL 1831517, at *5 (N.D. Ill. May 18, 2012). “[G]amesmanship is antithetical to the

principles of discovery under the Federal Rules.” Hobley v. Burge, No. 03 C 3678, 2003 WL

22359520, at *2 (N.D. Ill. Oct. 15, 2003).

        8.      Rule 37(a)(1) of the Federal Rules of Civil Procedure provides that “a party may

move for an order compelling disclosure or discovery. The motion must include a certification that

the movant has in good faith conferred or attempted to confer with the person or party failing to

make disclosure or discovery in an effort to obtain it without court action.” Fed. R. Civ. Pro. 37(a)

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(1). Rule 37(a)(4) provides that “an evasive or incomplete disclosure, answer, or response must be

treated as a failure to disclose, answer, or respond.” Fed. R. Civ. Pro. 37(a)(4).

        9.      UAL did not fully respond to Bedford’s Interrogatory No. 4 and Request to Produce

No. 14 in that UAL failed to identify all charges and/or lawsuits and produce all documents

related to any lawsuits in which UAL was sued or named for claims for wrongful discharge on

the basis of age, race, and/or gender discrimination within the last five (5) years. In UAL’s

Additional Supplemental Responses, UAL provided information regarding “external charges of

discrimination on the basis of age, race, and/or gender discrimination filed by ‘above the wing’

employees at Chicago O’Hare International Airport from January 1, 2013 to the present.” (UAL’s

Additional Supplemental Responses, p. 2). Thus, UAL failed to adequately respond to Interrogatory

No. 4 and Request to Produce No. 14 as it unilaterally limits Bedford’s requests in time and nature.

        10.     UAL did not fully respond to Bedford’s Interrogatory No. 16 in that it failed to

identify each person terminated as a Customer Service Representative at UAL in Chicago and all

surrounding areas in the last five (5) years and their respective personnel files and background

information, including, but not limited to, educational background, age, gender, race, and work

experience. In UAL’s Additional Supplemental Responses, UAL objected that Interrogatory No. 16

is overbroad and that “surrounding areas” is vague and ambiguous. However, during the parties’

prior telephone conference on November 12, 2015, counsel for Bedford clarified that the request

pertained to records from employees working for UAL at O’Hare International Airport and in the

Chicago land area.

        11.     UAL did not fully respond to Bedford’s Interrogatory No. 17 and Request to

Produce No. 29 in that it failed to identify each person who replaced Bedford as a Customer

Service Representative along with their respective personnel files and background information,

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including, but not limited to, educational background, age, gender, race, and work experience. In

UAL’s Additional Supplemental Responses, UAL objects that Interrogatory No. 17 and Request to

Produce No. 29 is “overbroad” and “irrelevant” and that UAL “cannot identify a particular

employee who directly ‘replaced’ Plaintiff.” (UAL’s Additional Supplemental Responses, p. 2).

However, during the parties’ prior telephone conference on November 12, 2015 and in subsequent

conversations, Plaintiff clarified that “replaced” meant any employee hired as a Customer Service

Representative by UAL after Bedford’s termination.

        12.    UAL did not fully respond to Bedford’s Request to Produce Nos. 9, 12, and 13 in

that UAL failed to produce all documents relating to the various levels of discipline at UAL,

procedures at UAL for disciplining and/or terminating employees, and UAL’s standard practice

of employee discipline for a person in Bedford’s position, including but not limited to its

standard practice of discipline for an employee’s first disciplinary offense.

        13.    UAL did not fully respond to Bedford’s Request to Produce Nos. 10 and 11 in

that UAL failed to produce all documents relating to the investigation conducted by UAL in

response to the events that allegedly occurred on or about October 17, 2013 and which ultimately

lead to Bedford’s discharge (“Investigation”), the events that allegedly occurred on October 17,

2013 (the “Incident”) that are the subject of this adversarial proceeding, Case No. 1:14-cv-10196

(the “Lawsuit”).

        14.    UAL did not fully respond to Bedford’s Request to Produce No. 15 in that UAL

failed to produce a roster of all UAL Customer Service Representatives in Chicago and all

surrounding areas from the last five (5) years and their respective background information,

including, but not limited to, educational background, age, gender, race, and work experience.




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        15.    UAL did not fully respond to Bedford’s Request to Produce No. 20 in that UAL

failed to produce all documents relating to any investigation in the last five (5) years of any

current or former UAL employee accused of violating the same and/or similar Guidelines that

Plaintiff was accused of violating.

        16.    UAL did not fully respond to Bedford’s Request to Produce No. 21 in that UAL

failed to produce a roster of any current or former UAL employees who were disciplined or

terminated in the last five (5) years as a result of violation of the same and/or similar guidelines

that Plaintiff was accused of violating.

        17.    All of the above-referenced interrogatories and requests to produce are directly

relevant to this Lawsuit, namely to Bedford’s wrongful discharge claims and damages.

        18.    UAL states in its responses that Interrogatory Nos. 16-17 and Requests to Produce

Nos. 9-13, 15, 20-21, 29 are “vague,” “ambiguous,” “overbroad,” and/or “irrelevant.” Such

objections are inappropriate and improper. In addition, the mere fact that the responding party

will be required to expend a considerable amount of time, effort, or expense in answering

interrogatories is not sufficient to preclude discovery. See, e.g., Schapp v. Executive Industries,

Inc, 130 F.R.D. 384 (N.D. Ill. 1990).

        19.    Additionally,    UAL’s      Supplemental   Responses     and    UAL’s     Additional

Supplemental Responses unilaterally limit Bedford’s discovery requests in time and nature in an

attempt to limit the documents requested by Bedford.

        20.    Counsel for Bedford certifies that it has in good faith conferred or attempted to

confer with UAL, which has failed to to make disclosure or discovery, in an effort to obtain it

without court action.




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        21.      For all of these reasons, this Court should compel UAL to provide sufficient and

complete responses to Interrogatories Nos. 4, 16, and 17 and Requests for Production Nos. 9-15,

20-21, and 29.

        WHEREFORE, Garvin Bedford requests this Honorable Court to compel defendant United

Airlines, Inc to produce.: (i) full and complete answers to Interrogatories Numbers 4, 16, and 17; (ii)

full and complete production of the items requested in Bedford’s Requests for Production Numbers

9-15, 20-21, and 29; (iii) a privilege log stating the basis for any claims of privilege; and (iv) for any

other relief the Court deems just.

                                                        Respectfully submitted,

                                                        GARVIN BEDFORD
Robert E. McKenzie
Anne M. Coghlan                                         By:    /s/ Anne M. Coghlan
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2016, I electronically filed the foregoing document
using the CM/ECF system which will send notification of such filing to those parties of record in
this case.

                                                    By:    /s/ Anne M. Coghlan




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